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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                     )
                                              )
               v.                             )       Case No.: 1:18-cr-218 (TSC)
                                              )
MARIIA BUTINA, a/k/a                          )
MARIA BUTINA,                                 )
                                              )
       Defendant.                             )
                                              )

                 JOINT MOTION TO SET CHANGE OF PLEA HEARING

       The Defendant Maria Butina, by counsel, and the government, by and through its attorney,

the United States Attorney for the District of Columbia, respectfully file this joint motion to set a

change of plea hearing in the above-captioned matter and request a hearing at the Court’s earliest

convenience. The parties, as well as advisory counsel A.J. Kramer, Esq., are available for a hearing

beginning between 9:00 a.m. and 11:00 a.m. on Tuesday, December 11, 2018, at any point on

Wednesday, December 12, 2018, or on Thursday, December 13, 2018, at any point except 1:30-

3:00 p.m. The parties have resolved this matter, and the Defendant Mariia Butina remains in

custody.
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Dated: December 10, 2018                 Respectfully submitted,

                                         JESSIE K. LIU
         /s/                             UNITED STATES ATTORNEY
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                                                 /s/
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